Case 2:16-CV-03799-D.]H Document 9 Filed 11/08/16 Page 1 of 1

Stinson Leonard Street, LLP

1850 North Centra| Ave, Suite 2100
Phoenix, AZ 85004

(602) 279-1600

lN THE UN|TED STATES D|STR|CT COURT OF AR|ZONA COURT OF THE STATE OF AR|ZONA
lN AND FOR THE COUNTY OF PHOEN|X

HKB,|NC, an Arizona corporation, doing Case Number: 2:16-CV-03799-DJH
business as SOUTHWEST lNDUSTR|AL RlGG|NG

P|aintiff.
AFF|DAV|T OF SERV|CE

VS.

BOARD OF TRUSTEE FOR THE SOUTHWEST
CARPENTER'S SOUTHWEST TRUST;
CARPENTERS SOUTHWEST ADM|N|STRAT|VE

CORP
Defendant.

Received by PROCESS SERVER EXPRESS on the 3rd day of Novemberl 2016 at 12:20 pm to be served on John
T. Decarlo Board of Trustees for the southwest carpenter's southwest trust, 533 South Fremont Ave, 9th

F|oor, Los Angeles, CA 90071.

l, Supawadee Viwatkurkul, being duly swom, depose and say that on the 3rd day of November, 2016 at 1:26 pm, l:

lNDlVlDUALLY/PERSONALLY served by delivering a true copy of the Summon in a civil action, Compialnt for
declaratory judgment with the date and hour of service endorsed thereon by me. to: John T. Decar|o Board of
Trustees for the southwest carpenter's southwest trust at the address of: 533 South Fremont Ave, Sth
F|oor, Los Angeles, CA 90071, and informed said person of the contents therein, in compliance with state
statutes.

l certify that l am over the age of 18, have no interest in the above action. and am a Certifled Process Serverl in
good standing. in the judicial circuit in which the process was served.

ja v

 

 

Subscribed and Swom to before me on the 3rd day of up adee Viwatkurkul
Novemberl 2016 by the affiant who is personally 256348
known to me.
PROCESS SERVER EXPRESS
8526 Plco Vlsta Rd.
NOTARY PUBL|C Plco R|vera, CA 90660
(562) 986-8043

Our Job Seriai Number: JCJ-2016000500

Copynght¢ 1992-2011 Daubue Sorv|ces, inc. - process Serverl Too|box V6.5n

